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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK




 In re Terrorist Attacks of September 11, 2001           03 MDL 1570 (GBD) (SN)




This document relates to:
Federal Insurance Co., et al. v. Al Qaida, et al., Case No. 03-cv-06978
Thomas Burnett, Sr., et al. v. Al Baraka Inv. & Dev. Corp., et al., Case No. 03-cv-09849
Estate of John P. O'Neill, Sr., et al. v. Al Baraka, et al., Case No. 04-cv-01923
Continental Casualty Co., et al. v. Al Qaeda, et al., Case No. 04-cv-05970
Cantor Fitzgerald & Co., et al. v. Akida Bank Private Ltd., et al., Case No. 04-cv-07065
Euro Brokers, Inc. et al. v. Al Baraka, et al., Case No. 04-cv-07279


             AFFIDAVIT IN SUPPORT OF MOTION FOR ADMISSION OF
                      JUSTIN D. RATTEY PRO HAC VICE

       I, Justin D. Rattey, make this affidavit in support of the motion for my admission to

appear and practice in this Court in the above-captioned litigation and individual cases as counsel

Pro Hae Vice for Dubai Islamic Bank.

           1. I have never been convicted of a felony.

           2. I have never been censured, suspended, disbarred or denied admission or

               readmission by any court.

           3. There are no disciplinary proceedings presently against me in any court.

           4. My current certificates of good standing from Maryland and Washington, D.C.

               are attached.
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       I certify and attest, under the penalty of perjury as prescribed in 28 U.S.C. § 1746, that the

foregoing statements made by me are true and correct. I am aware that if any of the foregoing

statements made by me are false, I am subject to punishment.



Date: January 5, 2024




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                                                             Washington, D.C. 20001-2113
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                                                             Facsimile: (202) 626-1700
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           Columbia
            sworn to




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